      Case 2:22-cv-02344-MEMF-GJS Document 41 Filed 11/18/22 Page 1 of 2 Page ID #:230
                                                                                                                                                       POS-020
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                             FOR COURT USE ONLY
 Rajan O. Dhungana (SBN: 297794)
 FEDERAL PRACTICE GROUP
 431 N Brookhurst St, Suite 130
 Anaheim, California 92801
            TELEPHONE NO.:    (310) 795-6905                     FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name):     Attorney for Plaintiff Jane Doe
SUPERIORSTATES
UNITED   COURT OF CALIFORNIA,
                DISTRICT      COUNTY
                          COURT      OF LOS ANGELES
                                  CENTRAL      DISTRICT OF CALIFORNIA
 STREET ADDRESS:
 MAILING ADDRESS:    350 West First St, Courtroom 8B, 8th Floor
CITY AND ZIP CODE: Los   Angeles, 90012
     BRANCH NAME:

      PETITIONER/PLAINTIFF: Jane Doe
RESPONDENT/DEFENDANT: Joseph 'JOJO' Diaz
                                                                                                              CASE NUMBER:
                            PROOF OF PERSONAL SERVICE—CIVIL                                                   2:22-cv-02344-MEMF-GJSx

                                   (Do not use this Proof of Service to show service of a Summons and Complaint.)
1. I am over 18 years of age and not a party to this action.
2. I served the following documents (specify):
     PLAINTIFF JANE DOE•S APPLICATION FOR ENTRY OF DEFAULT AGAINST DEFENDANT JOSEPH •JOJO• DIAZ, JR.;
     AFFIDAVIT OF RAJAN O. DHUNGANA; PROPOSED ORDER GRANTING PLAINTIFF JANE DOE•S APPLICATION FOR ENTRY OF DEFAULT
     AGAINST DEFENDANT JOSEPH •JOJO• DIAZ, JR.; PLAINTIFF JANE DOE•S NOTICE OF MOTION, MOTION, AND INCORPORATED
     MEMORANDUM TO ENTER DEFAULT JUDGMENT December 1, 2022; PROPOSED ORDER GRANTING PLAINTIFF JANE DOE•S MOTION
     TO ENTER DEFAULT JUDGMENT December 1, 2022;
       ✔     The documents are listed in the Attachment to Proof of Personal Service—Civil (Documents Served) (form POS-020(D)).
3. I personally served the following persons at the address, date, and time stated:
   a. Name: Joseph 'JOJO' Diaz
     b. Address:        250 College Park Drive, Unit I13 Upland CA 91786

     c. Date:      11-16-2022

     d. Time:      3:40PM

              The persons are listed in the Attachment to Proof of Personal Service—Civil (Persons Served) (form POS-020(P)).
4. I am
   a.             not a registered California process server.                          c.     an employee or independent contractor of a
   b.        ✔    a registered California process server.                                     registered California process server.
                                                                                       d.     exempt from registration under Business & Professions
                                                                                              Code section 22350(b).
5. My name, address, telephone number, and, if applicable, county of registration and number are (specify):
     Michael Rodgers
     1015 W Granada Ct. Ontario CA 91762
     909-343-9944
     San Bernardino #833


6.     ✔     I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
7.           I am a California sheriff or marshal and certify that the foregoing is true and correct.



Date:      November 16, 2022

Michael Rodgers
        (TYPE OR PRINT NAME OF PERSON WHO SERVED THE PAPERS)                                          (SIGNATURE OF PERSON WHO SERVED THE PAPERS)
                                                                                            BY FAX
Form Approved for Optional Use                                                                                                         Code of Civil Procedure, § 1011
  Judicial Council of California                     PROOF OF PERSONAL SERVICE—CIVIL
POS-020 [New January 1, 2005]
     Case 2:22-cv-02344-MEMF-GJS Document 41 Filed 11/18/22 Page 2 of 2 Page ID #:231
                                                                                                                                               POS-020(D)
 SHORT TITLE:                                                                                            CASE NUMBER:
                      Doe Vs. Diaz                                                                       2:22-cv-02344-MEMF-GJSx

          ATTACHMENT TO PROOF OF PERSONAL SERVICE—CIVIL (DOCUMENTS SERVED)
                                                  (This Attachment is for use with form POS-020)
The documents that were personally served are as follows (describe each document specifically):
PLAINTIFF JANE DOES NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE DEFENDANTS
AMENDED ANSWER TO COMPLAINT October 27, 2022



PROPOSED ORDER GRANTING PLAINTIFF JANE DOES MOTION TO STRIKE DEFENDANTS AMENDED ANSWER TO
COMPLAINT October 27, 2022



PLAINTIFF JANE DOES NOTICE OF MOTION, MOTION, AND INCORPORATED MEMORANDUM TO STRIKE DEFENDANTS
AMENDED ANSWER TO COMPLAINT October 27, 2022



PROPOSED ORDER GRANTING PLAINTIFF JANE DOES MOTION TO STRIKE DEFENDANTS AMENDED ANSWER TO
COMPLAINT October 27, 2022


Letter Dated November 14, 2022
Hearing on Plaintiffs Motion to Strike Answer; Plaintiffs Application for Entry of Default Against Defendant; and Plaintiffs Motion to Enter Default
Judgment scheduled for December 1, 2022 at 10:00am




 Form Approved for Optional Use
   Judicial Council of California      ATTACHMENT TO PROOF OF PERSONAL SERVICE—CIVIL                                                    Page     2     of   2
POS-020(D) [New January 1, 2005]                      (Documents Served)
